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  IT IS ORDERED as set forth below:



  Date: August 30, 2021
                                                     ________________________________
                                                                 Paul Baisier
                                                         U.S. Bankruptcy Court Judge

  _______________________________________________________________



                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                :                     CASE NO. 21-55752-PMB
                                      :
NEW VISION REALTY & INVESTMENTS, INC.,:                     CHAPTER 7
                                      :
     Debtor.                          :
                                      :


 ORDER APPROVING EMPLOYMENT OF ATTORNEYS, SUBJECT TO OBJECTION
                        (HOURLY FEE)

         On August 27, 2021, S. Gregory Hays, in his capacity as Chapter 7 Trustee

(the “Trustee”), filed an application for appointment of Arnall Golden Gregory LLP (“AGG” or

“Applicant”) as attorneys for Trustee [Doc. No. 23] (the “Application”).           Applicant will

represent Trustee on an hourly rate basis. No notice or hearing on the Application is necessary.

The Application and accompanying verified statement demonstrate that AGG is a firm of

attorneys qualified to practice in this Court, that Applicant is disinterested and represents no

interest adverse to Debtor or the estate, and that this case justifies employment of a professional

for the purpose specified.


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          Subject to objection filed by the United States Trustee or any other party in interest in this

case within twenty-one (21) days from the date of entry of this Order, it is hereby ORDERED

and ADJUDGED as follows:

          1.      Under 11 U.S.C. § 327 and Bankruptcy Rule 2014, the Application is

GRANTED: Trustee is authorized to employ Applicant as Trustee’s attorney during this Chapter

7 case.

          2.      No compensation shall be paid to Applicant until the Court has allowed such

compensation in accordance with 11 U.S.C. § 330 and 331 and FED. R. BANKR. P. 2016, after

notice and a hearing on an appropriate application for compensation, notice of which shall be

served on all requisite parties in interest, including Debtor, Debtor’s counsel, Trustee, and the

United States Trustee.1

          3.      Any objection to this Order shall be served on the United States Trustee,

Applicant, Trustee, and counsel for Debtor. If an objection is timely filed, Applicant shall

schedule a hearing on the Application and such objection pursuant to the Court’s Open Calendar

Procedures, and shall provide notice of such hearing to the United States Trustee, Trustee, and

the objecting party.

          Applicant is directed to serve a copy of this Order on the Debtor, counsel for the Debtor,

the United States Trustee, all counsel that have filed a request for notices in this case, and all

creditors that have filed a proof of claim in this case, and to file with the Court a Certificate of

Service indicating such service, all within three (3) business days of the entry of this Order.

                                          [END OF DOCUMENT]




1
          See the United States Trustee Guidelines for Reviewing Applications for Compensation.


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Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP

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Proposed Attorneys for Trustee




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